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                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT
                                   100 EAST FIFTH STREET, ROOM 540
      Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE             Tel. (513) 564-7000
          Clerk                       CINCINNATI, OHIO 45202-3988           www.ca6.uscourts.gov




                                                  Filed: July 05, 2022




   Ms. Diana L. Martin
   Cohen Milstein Sellers & Toll
   11780 US Highway One
   Suite N500
   Palm Beach Gardens, FL 33408

                            Case No. 22-5492/22-5493/22-5494/22-5495/22-5499/22-5513,
                        Re: Paul Abbott, et al v. USA
                            Originating Case No. : 3:18-cv-00201 : 3:20-cv-00149

   Dear Counsel,

     The Court issued the enclosed Order today in this case.

                                                  Sincerely yours,

                                                  s/Julie Connor
                                                  Case Manager
                                                  Direct Dial No. 513-564-7033

   cc: Mr. Theodore William Atkinson
       Mr. Theodore J. Leopold
       Mr. Jeffrey Eric Sandberg
       Ms. LeAnna Wilson

   Enclosure




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                      Case No. 22-5492/22-5493/22-5494/22-5495/22-5499/22-5513

                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT

                                                ORDER



   PAUL W. ABBOTT, et al. (22-5492)

   MICHAEL B. REED, individually, as surviving spouse and next of kin of Constance M. Reed, deceased,
   and as surviving parent of Chloe E. Reed and Lillian D. Reed, deceased, et al. (22-5493)

   BRITTANY N. HYRE ANCULLE, et al. (22-5494)

   JACKIE SUE BARNES, et al. (22-5495)

   BRITTANY ADKINS, et al. (22-5499)

   JAMES CARL VANCE, individually, as surviving spouse and next of kin of May Evelyn Norred Vance,
   deceased, et al. (22-5513)

                 Plaintiffs - Appellants

   v.

   UNITED STATES OF AMERICA

                 Defendant - Appellee



        Appellants filed an unopposed motion to consolidate the above-referenced cases. The court

   having determined that consolidation of the above causes for purposes of briefing and submission

   is appropriate,

        It is ORDERED that the motions are GRANTED, and the causes be and they hereby are

   consolidated for the purposes stated above. Appellants shall file one consolidated brief, and the

   appellee shall file one consolidated brief. The above caption should be used for briefing.

                                                    ENTERED PURSUANT TO RULE 45(a),
                                                    RULES OF THE SIXTH CIRCUIT
                                                    Deborah S. Hunt, Clerk


   Issued: July 05, 2022
                                                    ___________________________________
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